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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                       :
TROY PIROLOZZI,                                        :         CASE NO. 5:07-CV-798
                                                       :
                  Plaintiff,                           :
                                                       :
vs.                                                    :         ORDER & OPINION
                                                       :         [Resolving Doc. No. 277]
ERIC STANBRO, ET AL,                                   :
                                                       :
                  Defendants.                          :
                                                       :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Defendant City of Canton moves this Court to amend the judgment in this case by reducing

it by the social security benefits payable to the decedent’s children. [Doc. 277.] Plaintiff Troy

Pirolozzi opposes the motion. [Doc. 281.] For the reasons discussed below, the Court DENIES the

motion to amend the judgment.

         On March 19, 2007, Plaintiff Pirolozzi filed suit against multiple Defendants in this Court

for damages under 42 U.S.C. § 1983. Prior to trial, Plaintiff Pirolozzi filed a motion in limine to

prohibit the Defendants’ experts from testifying that the jury should take into account social security

benefits payable to decedent Shawn Pirolozzi’s children. [Doc. 201.] The Defendants filed

opposition, [Doc. 207], and the Court addressed the issue at a Daubert hearing on April 13, 2009.

[Doc. 219.] At that hearing, both parties agreed that any discussion of social security benefits should

be dealt with as a post-trial matter to avoid confusing the jury, the Court granted the Plaintiff’s

motion to exclude the evidence at trial, acknowledging the potential for reconsideration of the ruling

if necessary. [Doc. 271 at 15.]

         Following a jury trial and verdict, on May 21, 2009, the Court entered judgment in favor of


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Plaintiff Pirolozzi and against Defendant City of Canton as to both the remaining survivorship and

wrongful death claims. [Doc. 274.] The jury awarded the Plaintiff compensatory damages of $75,000

as to the survivorship claim and $2,000,000 as to the wrongful death claim. [Id.]

        On June 4, 2009, Defendant City of Canton moved this Court pursuant to Ohio Revised Code

§ 2744.05(B) to reduce the amount of the jury’s verdict by the social security benefits that are

payable to decedent Shawn Pirolozzi’s children. [Doc. 277.] Because 42 U.S.C. § 1983 fails to

address the issue of set-offs for collateral benefits, the Defendant argues that under 42 U.S.C. § 1988

this Court should apply state law to fill the gap. [Id.] Ohio law provides that collateral benefits owed

to a claimant shall be deducted from an award against a political subdivision recovered by that

claimant. [Id. at 2 (citing O.R.C. 2744.05(B)(1)).] Given that the estate of Shawn Pirolozzi descends

to his children, and those children will receive social security benefits as a result of his death until

they are 18 years old, Canton argues that the amount of those social security benefits should be

deducted from the jury award. [Id. at 2.]

        Plaintiff Pirolozzi responds that the Ohio law is inconsistent with the letter and spirit of §

1983 because it limits a party’s ability to obtain damages for constitutional violations. [Doc. 281

at 3-4.] Therefore, Pirolozzi argues the state law is preempted and inapplicable. [Id.] Even if O.R.C.

§ 2744.05(B) were not preempted by § 1983, Pirolozzi argues that, “[b]ecause there has been no

apportionment of the jury’s verdict, which is in favor of the Estate and not the children, there is no

basis upon which to now divide and/or reduce the judgment.” [Id. at 5.]

        The common law collateral source rule governs this issue. “Under the collateral source rule,

‘the receipt of collateral benefits is deemed irrelevant and immaterial on the issue of damages . . .

.’” Honeysett v. Williams, 2003 WL 25676461, at *8 (N.D. Ohio July 3, 2003) (citing Pryor v.

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Webber, 263 N.E.2d 235, 239 (Ohio 1970)). Collateral source benefits include “social security and

medicare payments and gratuitous physician’s fees.” Id. (emphasis added). The collateral source rule

is applicable to damage questions in federal § 1983 actions. See Gill v. Maciejewski, 546 F.3d 557,

565 (8th Cir. 2008); see also Perry v. Larson, 794 F.2d 279 (7th Cir. 1986) (refusing to deduct

unemployment compensation from verdict rendered in a § 1983 action because of the collateral

nature of the benefit). In this case, the social security benefits payable to decedent Shawn Pirolozzi’s

children are collateral source benefits, and thus will not be deducted from the damages awarded to

Plaintiff Pirolozzi on the § 1983 claims.

        Even if the Court were to look to state law, however, O.R.C. § 2744.05(B) does not apply.

A subsequent provision, O.R.C. § 2744.09(E), exempts the instant case from coverage by O.R.C.

Chapter 2744. Specifically, O.R.C. §2744.09 states, in pertinent part: “[t]his chapter does not apply

to, and shall not be construed to apply to, . . . (E) [c]ivil claims based upon alleged violations of the

constitution or statutes of the United States." O.R.C. § 2744.09(E). “Where a plaintiff brings a civil

action based upon alleged violations of a federal statute against a political subdivision, Chapter 2744

does not apply.”Craig v. Columbus City Schools, 760 F.Supp. 128, 130 (S.D. Ohio 1991).

                                            IV. Conclusion

        For the foregoing reasons, this Court DENIES the Defendants’ motion to amend the

judgment by reducing it to account for social security benefits. [Doc. 277.]

        IT IS SO ORDERED.



Dated: July 24, 2009                                    s/       James S. Gwin
                                                        JAMES S. GWIN
                                                        UNITED STATES DISTRICT JUDGE

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